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 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
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     THE STATE OF CALIFORNIA; THE
13   STATE OF CONNECTICUT; THE STATE                    4:17-cv-05783-HSG
     OF DELAWARE; THE DISTRICT OF
14   COLUMBIA; THE STATE OF HAWAII;                     STATES’ SUPPLEMENTAL BRIEF
     THE STATE OF ILLINOIS; THE STATE
15   OF MARYLAND; THE STATE OF                          Date:         December 16, 2020
     MINNESOTA, BY AND THROUGH ITS                      Time:         2:00 p.m.
16   DEPARTMENT OF HUMAN SERVICES; THE                  Dept:         2, 4th floor
     STATE OF NEW YORK; THE STATE OF                    Judge:        The Honorable Haywood S.
17   NORTH CAROLINA; THE STATE OF                                     Gilliam, Jr.
     RHODE ISLAND; THE STATE OF                         Action Filed: October 6, 2017
18   VERMONT; THE COMMONWEALTH OF
     VIRGINIA; THE STATE OF
19   WASHINGTON,
                                   Plaintiffs,
20
     THE STATE OF OREGON,
21
                               Plaintiff-Intervenor,
22
     THE STATE OF COLORADO; THE STATE
23   OF MICHIGAN; THE STATE OF NEVADA,

24                   Proposed-Plaintiffs-Intervenors,

25                 v.

26   ALEX M. AZAR II, IN HIS OFFICIAL
     CAPACITY AS SECRETARY OF THE U.S.
27   DEPARTMENT OF HEALTH & HUMAN
     SERVICES; U.S. DEPARTMENT OF
28   HEALTH AND HUMAN SERVICES;


                                                             States’ Supplemental Brief (4:17-cv-05783-HSG)
 1   EUGENE SCALIA, 1 IN HIS OFFICIAL
     CAPACITY AS SECRETARY OF THE U.S.
 2   DEPARTMENT OF LABOR; U.S.
     DEPARTMENT OF LABOR; STEVEN
 3   MNUCHIN, IN HIS OFFICIAL CAPACITY AS
     SECRETARY OF THE U.S. DEPARTMENT OF THE
 4   TREASURY; U.S. DEPARTMENT OF THE
     TREASURY; DOES 1-100,
 5                                 Defendants,
     and,
 6
     THE LITTLE SISTERS OF THE POOR,
 7   JEANNE JUGAN RESIDENCE; MARCH
     FOR LIFE EDUCATION AND DEFENSE
     FUND,
 8
                             Defendant-Intervenors.
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             Secretary Scalia replaces former Secretary Acosta as a defendant, in his official capacity,
28   by operation of Federal Rule of Civil Procedure 25(d).
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                                                                                        States’ Supplemental Brief (4:17-cv-05783-HSG)
 1                                            INTRODUCTION

 2         On July 8, 2020, the Supreme Court issued its decision in Little Sisters of the Poor Saints

 3   Peter & Paul Home v. Pennsylvania and Trump v. Pennsylvania, 140 S. Ct. 2367 (2020) (“Little

 4   Sisters”). The Court held that the ACA “gives [the Health Resources and Services

 5   Administration (HRSA)] broad discretion to define preventive care and screenings and to create

 6   religious and moral exemptions.” Id. at 2381. The Court further held that the Exemption Rules

 7   are not procedurally invalid under the Administrative Procedure Act (APA). Id. at 2384-86. The

 8   Court’s decision resolves the States’ statutory authority and procedural claims. Accordingly, the

 9   States hereby simultaneously file a Notice of Voluntary Withdrawal of Certain Claims.

10         However, other claims asserted in this case, including the arbitrary and capricious claim,

11   contrary to law claims, and constitutional claims, have not been resolved by the holdings in Little

12   Sisters because the Court did not reach and left unresolved significant issues. For instance, the

13   Court did not address whether that the Exemption Rules were required under the Religious

14   Freedom Restoration Act (RFRA). Nor did the Court conclude that the accommodation—which

15   allows religious employers to opt-out of the Mandate while still ensuring critical contraceptive

16   coverage for their employees—constitutes a substantial burden on the free exercise rights of

17   employers. The Court also did not reach the issue of whether the Rules are arbitrary and

18   capricious. See id. at 2387 (Alito, J., concurring) (“[w]e now send these cases back to the lower

19   courts, where the [States] are all but certain to pursue their argument that the current rule is

20   flawed on yet another ground, namely, that it is arbitrary and capricious and thus violates the

21   APA”); id. at 2398, 2399 (Kagan, J., concurring in judgment) (noting that the issue of whether the

22   Rules are arbitrary and capricious “is now ready for resolution, unaffected by today’s decision,”

23   and explaining that several “aspects of the Departments’ handiwork may [] prove arbitrary and

24   capricious”). Finally, the Court did not decide whether the Rules are contrary to Sections 1554 or

25   1557 of the ACA, or violate any constitutional provision.

26         With the opportunity to address the merits of the remaining issues on remand, this Court

27   should conclude that these Rules are arbitrary and capricious. “An agency acting within its

28   sphere of delegated authority can of course flunk the test of ‘reasoned decisionmaking.’” Little
                                                       1
                                                               States’ Supplemental Brief (4:17-cv-05783-HSG)
 1   Sisters, 140 S. Ct. at 2398 (Kagan, J., concurring). “Assessed against that standard of

 2   reasonableness, the exemptions HRSA and the Departments issued give every appearance of

 3   coming up short.” Id. at 2397. Indeed, this Court already concluded that “[g]iven the ‘serious

 4   reliance interests’ of women who would lose coverage to which they are statutorily entitled if the

 5   Final Rules go into effect, the Court believes that Plaintiffs are also likely to prevail on their

 6   claim that the agencies failed to provide ‘a reasoned explanation . . . for disregarding facts and

 7   circumstances that underlay or were engendered by the prior policy.’” California v. Health &

 8   Human Servs., 351 F. Supp. 3d 1267, 1296 (N.D. Cal. 2019). As the States outlined in prior

 9   briefing, Defendants’ decisionmaking is arbitrary and capricious for several reasons. See States

10   Mot. at 37-51, States Opp’n at 43-50, States Sur-Reply at 8-12. Drawing on recent case law, this

11   supplemental brief highlights some of the ways that the Rules are arbitrary and capricious.

12         First, Defendants crafted Exemptions which suffer from a striking “mismatch between the

13   scope of the” Exemptions “and the problem the agencies set out to address.” Little Sisters, 140 S.

14   Ct. at 2398 (Kagan, J., concurring). Although Defendants claim to be protecting employers with

15   sincerely held religious beliefs against providing, arranging, or participating in plans that comply

16   with the Mandate, 82 Fed. Reg. 47,792, 47,806 (Oct. 13, 2017), their “solution” was to create

17   Exemption Rules that encompass entities with no objections to the accommodation, entities which

18   cannot be said to have religious beliefs, and entities that do not even claim to have religious

19   beliefs (such as those covered under the “moral objection” exemption). “The rule thus went

20   beyond what the Departments’ justification supported,” and “lacks a ‘rational connection’ to the

21   problem described.” Little Sisters, 140 S. Ct. at 2399 (Kagan, J., concurring) (quoting Motor

22   Vehicle Mfrs. Assn. of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)).

23         Second, Defendants failed to give adequate weight to the imperative of the Mandate and the

24   serious reliance interests of the intended beneficiaries of the Women’s Health Amendment. In

25   their rulemaking, Defendants failed to adequately consider the interests of the millions of women

26   who have benefitted from the contraceptive coverage mandate, and failed to provide adequate

27   explanations for several of its decisions, particularly given that the effect of the Exemption Rules

28   is to upend what Congress intended—to provide full and equal healthcare coverage to women.
                                                  2
                                                                States’ Supplemental Brief (4:17-cv-05783-HSG)
 1   Or. Nat’l Res. Council v. Thomas, 92 F.3d 792, 798 (9th Cir. 1996). Because they were “not

 2   writing on a blank slate,” Defendants’ failure to properly assess reliance interests and weigh those

 3   reliance interests against competing policy concerns renders the Rules arbitrary and capricious.

 4   Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1915 (2020) (Regents).

 5         Third, Defendants failed to provide a reasoned explanation for their policy reversal.

 6   “‘[T]he Rules provide no new facts and no meaningful discussion that would discredit their prior

 7   factual findings establishing the beneficial and essential nature of contraceptive healthcare for

 8   women.’” California, 351 F. Supp. 3d at 1296. Additionally, Defendants failed to meaningfully

 9   respond to comments and impermissibly weighed nonstatutory factors in promulgating the Moral

10   Exemption. Allied Local & Reg’l Mfrs. Caucus v. EPA, 215 F.3d 61, 80 (D.C. Cir. 2000) (“For

11   an agency’s decisionmaking to be rational, it must respond to significant points raised during the

12   public comment period.”); Little Sisters, 140 S. Ct. at 2400 (Kagan, J., concurring) (“RFRA cast a

13   long shadow over the Departments’ rulemaking . . . [but] that statute does not apply to those with

14   only moral scruples.”).

15         The Rules are also contrary to Sections 1554 and 1557 of the ACA because they create

16   barriers for women to obtain healthcare coverage, impede women’s timely access to healthcare,

17   and permit employers to exclude women from full and equal participation in their employer-

18   sponsored health plan. See States Mot. at 35-37, States Opp’n at 39-43, States Sur-Reply at 7-8.

19
                                                ARGUMENT
20
     I.    THE EXEMPTION RULES ARE ARBITRARY AND CAPRICIOUS
21
           The Religious and Moral Exemption Rules are arbitrary and capricious and must be set
22
     aside under 5 U.S.C. § 706 of the APA because Defendants: (1) crafted Exemptions which are
23
     significantly broader in scope than the problem they purport to solve; (2) failed to give adequate
24
     weight to the imperative of the Mandate and the serious reliance interests of the intended
25
     beneficiaries of the Women’s Health Amendment; (3) failed to provide a reasoned explanation for
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     their policy reversal; (4) failed to meaningfully respond to comments; and (5) impermissibly
27
     weighed nonstatutory factors in promulgating the Moral Exemption Rule.
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                                                      3
                                                              States’ Supplemental Brief (4:17-cv-05783-HSG)
 1         A.    The Exemption Rules Are Too Broad for the Problem They Purport to
                 Solve
 2

 3          Defendants promulgated the broad Religious and Moral Exemption Rules purportedly to

 4   protect employers who assert sincerely held religious beliefs or moral objections against

 5   providing contraceptive coverage or using the accommodation. 82 Fed. Reg. at 47,806; 83 Fed.

 6   Reg. 57,592, 57,593 (Nov. 15, 2018). To achieve this objective, Defendants vastly expanded the

 7   scope of the prior exemption to the contraceptive-coverage requirement by permitting any

 8   employer (regardless of corporate structure or religious affiliation), individual, or even a health

 9   insurer with religious objections to covering all or a subset of FDA-approved contraceptives, to

10   self-exempt. The Moral Exemption Rule likewise provides that nearly any employer could stop

11   covering contraceptive services for their employees if they have a “moral” objection. Like the

12   Religious Exemption, the Moral Exemption extends to employers, insurers, and individuals. To

13   be clear, under the Exemption Rules, employers do not need to use the regulatory

14   accommodation, which ensures that women receive their statutorily guaranteed contraceptive

15   coverage. The Rules also do not require that employers notify the federal government or even tell

16   their affected employees. Rather, employers “object” by simply ceasing to provide contraceptive

17   coverage. The only way a woman would discover that her employer has exempted itself is by

18   examining her annual notice of benefits and coverage or by receiving a surprise medical bill.

19          Defendants concede that these broad Rules will sweep in employers without an objection

20   to the accommodation and will allow them to switch from the accommodation to the exemption.

21   See 83 Fed. Reg. 57,536, 57,577 (Nov. 15, 2018) (“Of course, some of the[ ] religious

22   [institutions that ‘do not conscientiously oppose participating in the accommodation’] may opt for

23   the expanded exemption . . . but others might not”); id. at 57,561 (“[I]t is not clear to the

24   Departments that all or most of such large nonprofit employers will choose to use the expanded

25   exemption instead of the accommodation”). Indeed, during the Supreme Court oral argument, the

26   Solicitor General “could offer no evidence that, since the rule took effect, employers without the

27   Little Sisters’ complicity beliefs had declined to avail themselves of the new exemption.” Little

28   Sisters, 140 S. Ct. at 2399 n.3 (Kagan, J., concurring) (citing Tr. of Oral Arg. 22). Thus, by their
                                                       4
                                                               States’ Supplemental Brief (4:17-cv-05783-HSG)
 1   own admissions, Defendants’ “solution” sweeps much more broadly than their stated goal,

 2   thereby failing the test of “reasoned decisionmaking.” Michigan v. EPA, 576 U.S. 743, 750

 3   (2015); see also Del. Dep’t of Nat. Res. & Envtl. Control v. EPA, 785 F.3d 1, 17-18 (D.C. Cir.

 4   2015) (setting aside a regulation because it was not tailored to address the identified problems);

 5   see also States Mot. at 44-46, States Opp’n at 48-50.

 6          Given Defendants’ own rationale, at most Defendants “should have exempted only

 7   employers who had religious objections to the accommodation—not those who viewed it as a

 8   religiously acceptable device for complying with the mandate.” Little Sisters, 140 S. Ct. at 2399

 9   (Kagan, J., concurring). Defendants offer little reason for allowing employers who do not object

10   to the accommodation to utilize the exemption, other than asserting that it is within their purview

11   to do so. 2 This “significant mismatch” between the problem identified and the solution adopted

12   demonstrates that the Rules are arbitrary and capricious. Dep’t of Commerce v. New York, 139 S.

13   Ct. 2551, 2575 (2019); State v. Bureau of Land Mgmt., 286 F. Supp. 3d 1054, 1066-67 (N.D. Cal.

14   2018) (agency action “not properly tailored” and thus arbitrary and capricious where the agency

15   asserted that the prior rule harmed small operators and as a “solution,” the agency promulgated a

16   “blanket suspension as to all operators, regardless of size”). And, while Defendants view the

17   Exemption Rules as the “more straightforward choice,” 83 Fed. Reg. at 57,545, Defendants

18   continue to provide the accommodation to any employer who requests that option, thus

19   maintaining a two-track system. Therefore, this choice does not support Defendants’ “decision to

20   offer the exemption more broadly than needed.” Little Sisters, 140 S. Ct. at 2399 n.4 (Kagan, J.,

21   concurring).

22         Similarly, Defendants’ decision to make publicly traded companies eligible for the

23   exemption is likewise an illustration of the solution sweeping too broadly, and in and of itself “is

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     2
       See 83 Fed. Reg. at 57,544 (“[T]he Departments believe that agencies . . . have discretion in
25   determining whether the appropriate response is to provide an exemption from the burdensome
     requirement, or to merely attempt to create an accommodation that would mitigate the burden”);
26   id. at 57,544 (“even if RFRA does not compel the Departments to provide the religious
     exemptions set forth in the IFC, the Departments believe the exemptions are the most appropriate
27   administrative response to the religious objections that have been raised”); 83 Fed. Reg. at 57,603
     (“[T]he Departments have concluded that it is appropriate to provide moral exemptions and
28   access to the accommodation, as set forth in these final rules.”).
                                                      5
                                                              States’ Supplemental Brief (4:17-cv-05783-HSG)
 1   unusual enough to raise a serious question about whether the Departments adequately supported

 2   their choice.” Little Sisters, 140 S. Ct. at 2399 (Kagan, J., concurring) (citing Burwell v. Hobby

 3   Lobby Stores, Inc., 573 U.S. 682, 717 (2014) (noting the oddity of “a publicly traded corporation

 4   asserting RFRA rights”)). Indeed, Defendants admit that they “are not aware of any publicly

 5   traded entities that have publicly objected to providing contraceptive coverage on the basis of

 6   religious belief.” 83 Fed. Reg. at 57,562. With no evidence of any public company being forced

 7   to violate its sincerely held religious belief, and despite the improbability that “unrelated

 8   shareholders—including institutional investors with their own set of stakeholders—would agree

 9   to run a corporation under the same religious beliefs,” Burwell, 573 U.S. at 717, Defendants

10   nevertheless expanded the scope of the exemption to include such hypothetical employers—

11   without regard for the women impacted by such an expansion. See Ariz. Cattle Growers Ass’n v.

12   U.S. Fish & Wildlife, 273 F.3d 1229, 1244 (9th Cir. 2001) (agency action may not be based on

13   mere “speculation”); Massachusetts v. EPA, 549 U.S. 497, 533 (2007) (agency does not have

14   “roving license” to ignore underlying statute); see also States Mot. at 46; States Opp’n at 49.

15         While Defendants promulgated an exemption that reaches every possible type of employer

16   who might have been covered by the provisions of the Women’s Health Amendment, Defendants

17   nevertheless insisted that this process would not be abused by those without sincere religious

18   beliefs. 83 Fed. Reg. at 57,558. However, the record does not support Defendants’ assertion.

19   First, they offer conflicting information on this score: in one breath, they reason that

20   contraceptive coverage is cost-neutral for issuers, therefore giving no financial incentives to

21   misrepresent their beliefs, 83 Fed. Reg. at 57,564, while in another they suggest that “premiums

22   would adjust to reflect changes in coverage,” thus lowering employers’ costs, 83 Fed. Reg. at

23   57,580. Second, as noted, Defendants “acknowledged the prospect that some employers without

24   a religious objection to the accommodation would switch to the exemption.” Little Sisters, 140 S.

25   Ct. at 2399 n.3 (Kagan, J., concurring) (citing 83 Fed. Reg. at 57,576-57,577, 57,561). And,

26   because there are no notice requirements, Defendants have been unable—and will always be

27   unable—to ensure that employers without objections to the accommodation “had declined to avail

28   themselves of the new exemption.” Id. The consequence of such a broad rule is that women will
                                                  6
                                                               States’ Supplemental Brief (4:17-cv-05783-HSG)
 1   lose their contraceptive coverage when an employer whose religious objections would have been

 2   satisfied by the accommodation opts instead for the exemption or when an employer with no

 3   objection at all opts to exercise the exemption; that outcome “yield[s] all costs and no benefits,”

 4   and is therefore “hard to see as consistent with reasoned judgment.” Id. at 2397.

 5         Defendants also make no serious effort to address alternatives to the Exemption Rules that

 6   would adequately protect the interests of women. See Zubik v. Burwell, 136 S.Ct. 1557, 1560

 7   (2016) (per curiam) (“[T]he parties on remand should be afforded an opportunity to arrive at an

 8   approach . . . ensuring that women covered by petitioners’ health plans ‘receive full and equal

 9   health coverage, including contraceptive coverage.’” (emphasis added)); 83 Fed. Reg. at 57,544-

10   57,546. Defendants merely provide conclusory assertions about alternatives. 3

11   “Because [Defendants] too cavalierly sidestepped [their] responsibility to address reasonable

12   alternatives, [their] action was not rational and must, therefore, be set aside.” Del. Dep’t of Nat.

13   Res. & Envtl. Control, 785 F.3d at 18. As the Supreme Court recently emphasized, where an

14   agency’s earlier rulemaking stressed the importance of an underlying program, the agency must

15   consider alternatives before implementing a subsequent rule. Regents, 140 S. Ct. at 1912 (“given

16   DHS’s earlier judgment that forbearance is ‘especially justified’ for ‘productive young’ people

17   who were brought here as children and ‘know only this country as home,’ the DACA

18   Memorandum could not be rescinded in full ‘without any consideration whatsoever’ of a

19   forbearance-only policy” (internal citations omitted)).

20         B.    Defendants Ignored the Harm the Exemption Rules Cause to Women
21         Defendants cannot ignore and minimize the serious reliance interests of women with

22   employer-provided healthcare coverage, particularly when the U.S. Supreme Court has repeatedly

23
     3
       83 Fed. Reg. at 57,544 (“[I]t would be inadequate to merely attempt to amend or expand the
24   accommodation process instead of expanding the exemption”); id. at 57,544 (“[M]erely amending
     that accommodation process without expanding the exemptions would not adequately address
25   religious objections”); id. at 57,545 (“[T]he Departments reaffirmed their conclusion that there is
     not a way to satisfy all religious objections by amending the accommodation”); id. at 57,545-
26   57,546 (“the Departments are not aware of the authority, or of a practical mechanism, for using
     section 2713(a)(4) to require contraceptive coverage be provided specifically to persons covered
27   by an objecting employer, other than by using the employer’s plan, issuer, or third party
     administrator, which would likely violate some entities’ religious objections.”).
28
                                                       7
                                                               States’ Supplemental Brief (4:17-cv-05783-HSG)
 1   stressed the importance of those interests. See also States Mot. at 38-39. 4 As outlined below,

 2   Defendants: (1) failed to meaningfully consider women’s interests, foisting upon women all of

 3   the burdens associated with obtaining full healthcare coverage and allowing employers to provide

 4   unequal benefits to their female employees; and (2) provided inadequate explanations for

 5   disregarding their prior rules. Defendants’ failure to appreciate the reliance interests at stake falls

 6   squarely within the type of arbitrary rulemaking the Supreme Court recently outlined in Regents.

 7         1.    Throughout this rulemaking Defendants discussed the interests of employers at

 8   length, while addressing the interests of millions of American women who stand to lose their

 9   contraceptive coverage only in terse and dismissive statements. 5

10
     4
       See Zubik, 136 S.Ct. at 1560 (HHS shall “ensur[e] that women covered by petitioners’ health
11   plans receive full and equal health coverage, including contraceptive coverage.” (internal
12   quotation marks omitted)); Wheaton College v. Burwell, 573 U.S. 958, 959 (2014) (“Nothing in
     this interim order affects the ability of applicant’s employees and students to obtain, without cost,
13   the full range of [FDA] approved contraceptives.”); Hobby Lobby, 573 U.S. at 692 (“HHS has
     already devised and implemented a system that seeks to respect the religious liberty of religious
14   nonprofit corporations while ensuring that the employees of these entities have precisely the same
     access to all FDA-approved contraceptives as employees of [other] companies.”); id. at 729 (the
15
     accommodation serves “a Government interest of the highest order,” i.e., providing women “with
16   cost-free access to all FDA-approved methods of contraception”).
     5
       See, e.g., 83 Fed. Reg. at 57,548 (“Some commenters contended that obtaining contraceptive
17   coverage from other sources could be more difficult or more expensive for women than obtaining
     it from their group health plan or health insurance plan. The Departments do not believe that
18   such differences rise to the level of a compelling interest or make it inappropriate for us to issue
     the expanded exemptions set forth in these final rules. Instead, after considering this issue, the
19   Departments conclude that the religious liberty interests that would be infringed if we do not offer
     the expanded exemptions are not overridden by the impact on those who will no longer obtain
20   contraceptives through their employer sponsored coverage as a result.”); 83 Fed. Reg. at 57,552
     (“Because of the importance of the religious liberty values being accommodated, the limited
21   impact of these rules, and uncertainty about the impact of the Mandate overall according to some
     studies, the Departments do not believe these rules will have any of the drastic negative
22   consequences on third parties or society that some opponents of these rules have suggested.”); 83
     Fed. Reg. at 57,556 (“Moreover, we conclude that the best way to balance the various policy
23   interests at stake in the Religious IFC and these final rules is to provide the expanded exemptions
     set forth herein, even if certain effects may occur among the populations actually affected by the
24   employment of these exemptions. These rules will provide tangible protections for religious
     liberty, and impose fewer governmental burdens on various entities and individuals, some of
25   whom have contended for several years that denying them an exemption from the contraceptive
     Mandate imposes a substantial burden on their religious exercise.”); 83 Fed. Reg. at 57,574
26   (“These final rules will result in some persons covered in plans of newly exempt entities not
     receiving coverage or payments for contraceptive services. As discussed in the Religious IFC,
27   the Departments did not have sufficient data on a variety of relevant factors to precisely estimate
     how many women would be impacted by the expanded exemptions or any related costs they may
28   incur for contraceptive coverage or the results associated with any unintended pregnancies.”).
                                                       8
                                                                States’ Supplemental Brief (4:17-cv-05783-HSG)
 1         As a threshold matter and by Defendants’ own admissions, “[t]he medical evidence

 2   prompting the contraceptive coverage requirement showed that even minor obstacles to obtaining

 3   contraception led to more unplanned and risky pregnancies, with attendant adverse effects on

 4   women and their families.” Resp. Br., Zubik v. Burwell, 2016 WL 537623, at *74-75 (Feb. 10,

 5   2016). Expert panels involved in the reviews that underlie the HRSA guidelines recognized the

 6   importance of cost reductions in improving access to contraception, and increasing consistent and

 7   correct usage of contraception. Ex. 9 (D4 000405-07); Ex. 24 (D9 668960-65); see also Hobby

 8   Lobby, 573 U.S. at 727 (“HHS tells us that ‘studies have demonstrated that even moderate

 9   copayments for preventive services can deter patients from receiving those services.’”); Ex. 57

10   (D10 00207393-98). As Defendants previously asserted, “[c]ontraceptive coverage also furthers

11   the compelling interest in ensuring that women have equal health coverage.” Zubik Resp. Br.,

12   2016 WL 537623 at *58.

13         Despite these findings and admissions, Defendants failed to explain why it was rational to

14   so strongly prioritize employers’ interests, at the expense of the millions of women who have

15   benefitted from the Women’s Health Amendment. For instance, Defendants do not require any

16   form of reporting, self-certification, or notice from exempt entities because of their concern for

17   the “additional paperwork burden” imposed on employers. 83 Fed. Reg. at 57,558. But this

18   “paperwork” would enable the Defendants to track the number of employers who might opt in to

19   the new exemption regime. Given that HHS itself estimated that 30 million women gained access

20   to contraceptive coverage due to the Women’s Health Amendment, it flouts reason to enact a rule

21   allowing unlimited numbers of employers to exempt themselves from the Mandate, without any

22   way of tracking the millions of women potentially impacted. Ex. 17 (D9 571363); 83 Fed. Reg.

23   at 57,551 (estimating that up to 126,400 women stand to lose contraceptive coverage due to the

24   Religious Exemption Rule). Defendants also fail to explain their rationale for allowing all

25   employers the ability to access the Exemption as quickly as possible, despite the fact that

26   Defendants did not identify employers in need of immediate relief. 83 Fed. Reg. at 57,570.

27   Likewise, Defendants go so far as to allow publicly-held for-profit entities to exempt themselves

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                                                      9
                                                              States’ Supplemental Brief (4:17-cv-05783-HSG)
 1   without any evidence that such entities need an exemption, 6 and allow closely held for-profit

 2   corporations to exempt themselves so as not to inconvenience them when they might at some

 3   point in the future wish to sell stock. 7 In myriad ways, Defendants failed to explain why it was so

 4   strongly privileging the interests of employers over the interests of the women who receive their

 5   contraceptive care through employer- and university-sponsored plans.

 6         In so doing, Defendants have saddled women with the burdens of seeking out and obtaining

 7   contraceptive care—burdens Congress intended to remove by promulgating the Women’s Health

 8   Amendment. By ignoring what the underlying statute—the Women’s Health Amendment—

 9   makes “important,” Defendants engaged in arbitrary and capricious rulemaking. Or. Nat’l Res.

10   Council v. Thomas, 92 F.3d at 798 (part of arbitrary and capricious analysis requires considering

11   what the underlying statute makes “‘important’”); see, e.g., State Farm, 463 U.S. at 43 (agency’s

12   failure to consider adopting a rule requiring airbags in new cars arbitrary and capricious, where

13   agency’s own evidence showed such a rule would save lives and the National Highway

14   Transportation Safety Act required agency to make rules enhancing auto safety); see also Nat’l

15   Urban League v. Ross, 977 F.3d 770, 2020 WL 5940346, at *4 (9th Cir. 2020) (agency action

16   arbitrary and capricious where the government failed to address the reliance interests of the

17   public).

18         2.    Defendants’ explanations fall short of the reasoned decisionmaking that would be

19   necessary to justify such a dramatic departure from the Departments’ prior policies, at the

20   expense of the fundamental policy interests underlying the Women’s Health Amendment. For

21   instance, Defendants averred that women “in plans that reduce or eliminate contraceptive benefits

22
     6
23     But see 83 Fed. Reg. at 57,562 (“[T]he Departments are not aware of any publicly traded entities
     that have publicly objected to providing contraceptive coverage on the basis of religious belief.”);
24   83 Fed. Reg. at 57,602 (“Although… the Departments assume the number of entities and
     individuals that may seek exemption from the Mandate on the basis of moral convictions, as these
25   two sets of litigants did, will be small, the Departments know from the litigation that it will not be
     zero.”).
26   7
       83 Fed. Reg. at 57,563 (“The Departments do not want to preclude such a closely held
     corporation from having to decide between relinquishing the exemption or financing future
27   growth by sales of stock, which would be the effect of denying it the exemption if it changes its
     status and became [sic] a publicly traded entity.”).
28
                                                      10
                                                               States’ Supplemental Brief (4:17-cv-05783-HSG)
 1   as a result of the exemption will know whether their health plan claims an exemption and will be

 2   able to raise appropriate challenges to such claims” by referencing their plan benefit documents.

 3   83 Fed. Reg. at 57,558. This ignores that the Women’s Health Amendment was designed to

 4   ensure women receive full and equal coverage (see States Mot. at 4)—not force them to scour

 5   their healthcare documents and then challenge their employer’s religious claim or moral

 6   objection. 8 Defendants also fail to explain how women would “challenge” their employer’s claim

 7   when HHS has not set forth any type of process for employees to assert such challenges.

 8         Similarly, Defendants assume that women are able to both identify and select a potential

 9   future employer based on whether that employer will cover their contraceptive care. 83 Fed. Reg.

10   at 57,560. Such an assumption ignores the socioeconomic and institutional barriers different

11   women face. Defendants merely assume that all women have the luxury of choosing an employer

12   on the basis of whether that employer will include full and equal healthcare coverage for women.

13   Unsurprisingly, Defendants provide no evidence to support their assumption, which is also built

14   on the entirely speculative notion that employers advertise the details of their health plans to

15   prospective employees. Defendants’ assumptions also fail to account for those women who are

16   dependents on their parents’ or partner’s health plan and who have no opportunity to exercise

17   their hypothetical choice at all. While Defendants’ assumptions on this score strain the

18   imagination for many women in the workforce, it is even more patently absurd when applied to

19   seventeen-year old high school students choosing a college. For those women, Defendants

20   blithely contend that “[n]o student is required to attend” an institution that does not provide full

21   and equal healthcare to women. 83 Fed. Reg. at 57,564. “At a minimum, students who attend

22   private colleges and universities have the ability to ask those institutions in advance what

23   religious tenets they follow, including whether the institutions will provide contraceptives in

24   insurance plans.” Id. Once again, Defendants’ rulemaking is premised upon baseless and

25   pernicious assumptions, including that students choosing a college would—despite financial

26   8
      And, even once women learn that their employer is not providing them full and equal healthcare
     coverage, the plan documents themselves will not indicate that an employer is utilizing an
27   exemption created by these Rules based on a religious belief or moral conviction. Impacted
     women would simply know that their employer dropped coverage—thus, further undermining
28   Defendants’ suggestion that women could allegedly challenge their employer’s religious claim.
                                                    11
                                                               States’ Supplemental Brief (4:17-cv-05783-HSG)
 1   considerations and other factors—change their institution due to the restrictions of its healthcare

 2   coverage. For women of all ages, Defendants already conceded that requiring women “to take

 3   steps to learn about, and to sign up for, a new health benefit” imposes “additional barriers,”

 4   “mak[ing] that coverage accessible to fewer women.” 78 Fed. Reg. 39,870, 39,888 (July 2,

 5   2013).

 6         3.    Defendants’ general characterization of women’s interests’ in contraceptive coverage

 7   as incidental, and the protections offered by the Women’s Health Amendment and the Mandate as

 8   lightly conferred and therefore easily removed, 9 demonstrates Defendants’ complete failure to

 9   appreciate the reliance interests at stake, and is contrary to Supreme Court precedent.

10         The U.S. Supreme Court recently reiterated the importance of agencies’ consideration of

11   reliance interests. In Regents, the government alleged that DACA recipients had “no ‘legally

12   cognizable reliance interests’ because the DACA Memorandum stated that the program

13   ‘conferred no substantive rights’ and provided benefits only in two-year increments.” 140 S. Ct.

14   at 1913. The Court rejected this narrow view of reliance interests. Id. The Court held that when

15   an agency changes course, it must give careful consideration to the reliance interests engendered

16   by the previous policy, and must “consider the alternatives that are within the ambit of the

17   existing policy.” Id.

18         Like the government in Regents, Defendants here argue that the characteristics of the

19   Contraceptive Coverage Mandate—“a subregulatory creation that does not apply in various

20   contexts,” 83 Fed. Reg. at 75,552—make its protections insubstantial. This Court should reject

21   that argument as a basis for ignoring the substantial reliance interests of women, especially

22   where, as here, the Mandate was the “the centerpiece of the policy.” Regents, 140 S. Ct. at 1913;

23   see also Nat’l Urban League, 2020 WL 5940346, at *4 (agency action is arbitrary and capricious

24   where the agency’s analysis fails to consider an important aspect of the problem—an analysis

25

26   9
       See, e.g., 83 Fed. Reg. at 57,549 (“These final rules do not create a governmental burden; rather,
     they relieve a governmental burden”); id. (“If some third parties do not receive contraceptive
27   coverage from private parties who the government chose not to coerce, that result exists in the
     absence of governmental action—it is not a result the government has imposed”); id. (“[T]he
28   government has simply restored a zone of freedom where it once existed.”).
                                                      12
                                                              States’ Supplemental Brief (4:17-cv-05783-HSG)
 1   which “‘turns on what [the] relevant substantive statute makes ‘important’”). Because

 2   Defendants were “not writing on a blank slate,” their failure to “assess whether there were

 3   reliance interests, determine whether they were significant, and weigh any such interests against

 4   competing policy concerns” renders the rules arbitrary and capricious. Regents, 140 S. Ct. at

 5   1915. Though Defendants may now tacitly acknowledge such reliance interests, see Defs. Opp’n

 6   at 33, merely claiming to have considered such interests does not make it so. Getty v. Fed. Savs.

 7   & Loan Ins. Corp., 805 F.2d 1050, 1055 (D.C. Cir. 1986) (“[s]tating that a factor was considered .

 8   . . is not a substitute for considering it”); Whitman-Walker Clinic, Inc. v. HHS, --- F. Supp. 3d ---,

 9   2020 WL 5232076, at *28 (D.D.C. Sept. 2, 2020) (concluding that where HHS’s rulemaking

10   “said almost nothing” about the important issues HHS raised in prior rulemaking, and failed to

11   consider the “consequences” of religious exemptions for access to care, “despite the fact that ‘the

12   ACA’s intended purpose [is] to broaden access to health care,’” it was arbitrary and capricious

13   (quoting Morris v. Cal. Physicians’ Serv., 918 F.3d 1011, 1014 (9th Cir. 2019)). And, the Rules

14   themselves do not reflect that Defendants engaged in the required consideration of reliance

15   interests. Regents, 140 S. Ct. at 1907 (“judicial review of agency action is limited to ‘the grounds

16   that the agency invoked when it took the action’”).

17         Given that HRSA continues to require that contraceptive coverage be provided, Defendants

18   have “committed themselves to minimizing the impact on contraceptive coverage, even as they

19   [seek] to protect employers with continuing religious objections.” Id. at 2399 (Kagan, J.,

20   concurring) (citing Women’s Preventive Services Guidelines, HRSA (Dec. 2019),

21   www.hrsa.gov/womens-guidelines-2019; 83 Fed. Reg. at 57,537). By promulgating Exemption

22   Rules that disregard the critical interests of the women who rely on the protections of the

23   Women’s Health Amendment, Defendants acted in an arbitrary and capricious manner and have

24   “failed to fulfill that commitment to women.” Id.; see also California, 351 F. Supp. 3d at 1296

25   (“[g]iven the ‘serious reliance interests’ of women who would lose coverage to which they are

26   statutorily entitled if the Final Rules go into effect, the Court believes that Plaintiffs are also

27   likely to prevail on their claim that the agencies failed to provide ‘a reasoned explanation . . . for

28   disregarding facts and circumstances that underlay or were engendered by the prior policy’”).
                                                    13
                                                                 States’ Supplemental Brief (4:17-cv-05783-HSG)
 1          C.   Defendants Failed to Provide a Reasoned Explanation for Their Policy
                 Reversal
 2
            Defendants must provide a reasoned and detailed explanation and justification for
 3
     disregarding facts and circumstances that underlay their prior policy. Encino Motorcars, LLC v.
 4
     Navarro, 136 S. Ct. 2117, 2127 (2016); F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502, 515
 5
     (2009). They have not done so. See States’ Mot. at 38-44; States’ Opp’n at 44-48; States’ Sur-
 6
     Reply at 8-10. Indeed, in prior rulemaking, Defendants made several findings that the Exemption
 7
     Rules do not reject—and, yet, the Exemption Rules fail to provide justification for such a
 8
     fundamental change in course. For instance, Defendants previously stated:
 9
        •    The contraceptive coverage requirement furthers the government’s compelling interest “in
10           safeguarding public health by expanding access to and utilization of recommended
             preventive services for women” and “assuring that women have equal access to health
11
             care services.” 78 Fed. Reg. at 39,887.
12
        •    The scientific and medical evidence demonstrates the health and other benefits of
13           contraceptive services, and it is for a woman and her provider to consider benefits and
             risks in selecting treatment. 78 Fed. Reg. at 39,872-73, 39,887-88.
14
        •    “Researchers have shown that access to contraception improves the social and economic
15
             status of women.” 77 Fed. Reg. 8725, 8728 (Feb. 15, 2012).
16
        •    “Contraceptive coverage, by reducing the number of unintended and potentially unhealthy
17           pregnancies, furthers the goal of eliminating [ ] disparit[ies] by allowing women to
             achieve equal status as healthy and productive members of the job force.” 77 Fed. Reg. at
18           8728. That is, “by providing women broad access to preventive services, including
             contraceptive services,” disparities are reduced. Id.
19

20      •    The ACA “contemplates providing coverage of recommended preventive services through
             the existing employer-based system of health coverage so that women face minimal
21           logistical and administrative obstacles.” 78 Fed. Reg. at 39,888.
22      •    “[W]omen in the workforce were at a disadvantage compared to their male co-workers.”
23           77 Fed. Reg. at 8,728.

24      •    A broader exemption would sweep in employers “more likely to employ individuals who
             have no religious objection to the use of contraceptive services,” and thereby risk
25           “subject[ing] [such] employees to the religious views of [their] employer.” 77 Fed. Reg.
             at 8728.
26

27      •    Every added burden or barrier increases the likelihood that some women will experience
             an unintended pregnancy, which in turn increases the health risks to those women and
28           their children. Zubik Resp. Br., 2016 WL 537623, at *57.
                                                     14
                                                             States’ Supplemental Brief (4:17-cv-05783-HSG)
 1
        •    Requiring “women—and only women—to take burdensome steps . . . in order to get
 2           coverage for an important aspect of their medical care” “thwart[s] the basic purposes of
             the Women’s Health Amendment, which was enacted to ensure that women receive equal
 3
             health coverage and to remove barriers to use of preventive services.” Zubik Resp. Br.,
 4           2016 WL 537623, at *29 (emphasis in original) (quoting Hobby Lobby, 573 U.S. at 732).

 5
            Given these prior findings, and the fact that the Exemption Rules do not challenge or
 6
     disavow those findings, this Court already correctly concluded that the States are “likely correct
 7
     that ‘the Rules provide no new facts and no meaningful discussion that would discredit their prior
 8
     factual findings establishing the beneficial and essential nature of contraceptive healthcare for
 9
     women.’” California, 351 F. Supp. 3d at 1296. “Instead, the Final Rules on this point rest, at
10
     bottom, on new legal assertions by the agencies.” Id.; see also Bhd. of Locomotive Engineers &
11
     Trainmen v. Fed. R.R. Admin., 972 F.3d 83, 116-17 (D.C. Cir. 2020) (where rule contains a “total
12
     explanatory void” and the court comes up “empty-handed” in its review of the record for a
13
     reasoned explanation, the rule is vacated). Because the reasons that Defendants proffer “are
14
     inadequate,” Defendants’ Rules may not be sustained. Regents, 140 S. Ct. at 1907; City of
15
     Oberlin v. FERC, 937 F.3d 599, 606-607 (D.C. Cir. 2019) (Decision-making was arbitrary and
16
     capricious where Commission “failed to adequately answer” outstanding, fundamental questions).
17
            D.    Defendants Failed to Meaningfully Respond to Comments Concerning the
18                Rules’ Impact

19          Defendants failed to meaningfully respond to comments during the rulemaking process and

20   ignored the overwhelming body of scientific evidence and expertise documented in those

21   comments. See States Mot. at 46-50; States Opp’n at 50; States Sur-Reply at 11-12. “For an

22   agency’s decisionmaking to be rational, it must respond to significant points raised during the

23   public comment period.” Allied Local & Reg’l Mfrs. Caucus, 215 F.3d at 80; see also Nat’l

24   Urban League, 2020 WL 5940346, at *5 (agency action arbitrary and capricious where agency

25   fails to provide “‘satisfactory explanation’ to the numerous statements” that the proposed agency

26   action would undermine the underlying statute). Although Defendants need not address every

27   comment, Defendants must address “significant” comments or those “which, if true, raise points

28   relevant to the agency’s decision.” City of Portland v. EPA, 507 F.3d 706, 715 (D.C. Cir. 2007);
                                                      15
                                                              States’ Supplemental Brief (4:17-cv-05783-HSG)
 1   Gresham v. Azar, 950 F.3d 93, 103 (D.C. Cir. 2020) (Agency must consider concerns raised in

 2   public comments lest its action be deemed arbitrary and capricious). Defendants failed to meet

 3   this standard. See States Mot. at 46-50; States Opp’n at 50; States Sur-Reply at 11-12.

 4         E.    Defendants Impermissibly Weighed Nonstatutory Factors in Promulgating
                 the Moral Exemption
 5
           As noted supra, the Religious Exemption Rule is unsupported and irrational and should
 6
     therefore be set aside. In the case of the Moral Exemption Rule, those arguments apply with even
 7
     greater force, as RFRA does not contemplate or protect such objections at all. See Little Sisters,
 8
     140 S. Ct. at 2400 (Kagan, J., concurring) (“RFRA cast a long shadow over the Departments’
 9
     rulemaking . . . and that statute does not apply to those with only moral scruples.”). In the
10
     absence of any competing statutory considerations such as those provided in RFRA, “a careful
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     agency would have weighed anew, in this different context, the benefits of exempting more
12
     employers from the mandate against the harms of depriving more women of contraceptive
13
     coverage.” Id. at 2400 (Kagan, J., concurring). Defendants nonetheless chose to adopt a
14
     sweeping Moral Exemption Rule, reflecting an impermissible consideration of non-religious
15
     “moral” objections to contraceptive coverage without any indication that Congress intended the
16
     agency to consider such objections. See Massachusetts, 549 U.S. at 533-34 (EPA’s “laundry list”
17
     of policy reasons for its rulemaking did not “amount to a reasoned justification for declining to
18
     form a scientific judgment”); State Farm, 463 U.S. at 43 (proscribing reliance on factors “which
19
     Congress has not intended it to consider.”).
20
     II.   THE RELIGIOUS AND MORAL EXEMPTION RULES ARE CONTRARY TO LAW
21

22         As discussed in the States’ pleadings, the Exemption Rules are contrary to Sections 1554

23   and 1557 of the ACA. See States Mot. at 35-37; States Opp’n at 39-43; States Sur-Reply at 7-8.

24         A.    The Exemption Rules Violate Section 1554 by Creating Unreasonable
                 Barriers to Care and Impeding Timely Access to Healthcare
25

26         Section 1554 provides that “the Secretary of [HHS] shall not promulgate any regulation

27   that: (1) creates any unreasonable barriers to the ability of individuals to obtain appropriate

28   medical care; (2) impedes timely access to health care services; . . . or (6) limits the availability of
                                                     16
                                                                States’ Supplemental Brief (4:17-cv-05783-HSG)
 1   health care treatment for the full duration of a patient’s medical needs.” 42 U.S.C. § 18114(1),

 2   (2), (6) (emphases added). The Exemption Rules violate each of these proscriptions. See States

 3   Mot. at 35-36; States Opp’n at 39-41; States Sur-Reply at 7-8.

 4         First, the Exemption Rules create unreasonable barriers to accessing contraceptive care. 42

 5   U.S.C. § 18114(1). The Exemption Rules will cause—by Defendants’ own estimates—up to

 6   126,400 women to lose their contraceptive coverage. 83 Fed. Reg. at 57,551 n.26, 57,578.

 7   Without such coverage, women will need to pay out-of-pocket for contraceptives, which cost $50

 8   per month or upwards of $600 per year. States Mot. at 2; see also id. at 36 (cost of IUD exceeds

 9   $1,000, which equates to a month’s salary for a woman working full time at the federal minimum

10   wage of $7.25 an hour). Because of the Contraceptive Coverage Mandate, “[w]omen now save

11   an average of 20% annually in out-of-pocket expenses, including $248 savings for IUDs and $255

12   for the contraceptive pill.” States Mot. at 2; see also 83 Fed. Reg. at 57,538 (predicting $68.9

13   million in “transfer costs” to be paid by “women previously receiving contraceptive coverage”).

14   Cost is always a barrier to obtaining medical care, and the most effective forms of contraception

15   (e.g. IUDs) have the highest upfront costs. Forcing women to pay for contraceptives will result in

16   some women forgoing contraceptives or switching to cheaper, but less effective, methods of

17   contraception. See States Mot. at 36 (collecting record evidence); States Opp’n at 5-6, 40 (same).

18         Second, the Exemption Rules impede timely access to contraceptives. 42 U.S.C.

19   § 18114(2). As Defendants have acknowledged, providing preventive services through the

20   existing, employer-based system of health coverage helps ensure that “women face minimal

21   logistical and administrative obstacles.” 78 Fed. Reg. at 39,888. Singling out and removing

22   contraceptive coverage from that system will necessarily increase the administrative obstacles

23   that the ACA sought to remove. For example, women who lose contraceptive coverage may need

24   to locate and secure a separate, new qualified medical provider, which may require transferring

25   medical records or submitting a complete medical history to the new provider to ensure proper

26   care. See States Mot. at 36 (collecting record evidence); States Opp’n at 40 (same). Such efforts

27   necessarily delay and impede timely access to contraceptives. And even minor obstacles to

28
                                                     17
                                                              States’ Supplemental Brief (4:17-cv-05783-HSG)
 1   obtaining contraception lead to more unplanned and risky pregnancies, with adverse effects on

 2   women and their families. See States Opp’n at 41 (citing record).

 3         The evidence in the record further demonstrates the importance of holistic coverage, to

 4   ensure that a woman’s “chosen provider” can “manage all health conditions and needs at the same

 5   time.” See States Mot. at 36 (citing record evidence). Eliminating coverage for one component

 6   of a woman’s healthcare—contraceptives—introduces hurdles which, “in turn, will increase those

 7   women’s risk of unintended pregnancy and interfere with their ability to plan and space wanted

 8   pregnancies. These barriers could therefore have considerable negative health, social and

 9   economic impacts for those women and their families.” Id.

10         Third, the Exemption Rules will “limit the availability” of contraceptives “for the full

11   duration” of time during which women need them. 42 U.S.C. § 18114(6). Contraceptives are a

12   routine and constant healthcare need for women of childbearing age. Nearly two-thirds of the

13   over 72 million women between the ages of 15-49 in the United States use contraceptives. States

14   Mot. at 1. A typical woman wishing to have only two children will, on average, spend three

15   decades avoiding unintended pregnancy. Id. at 45. Because contraceptives must be used without

16   interruption for such an extended period of time, the Exemption Rules will curb the availability of

17   contraceptives for some women during the multi-decade period when they need them. For all of

18   these reasons, the Exemption Rules violate multiple requirements imposed by Section 1554.

19         The Ninth Circuit’s recent en banc decision in California v. Azar, 950 F.3d 1067 (9th Cir.

20   2020), petitions for cert. filed is readily distinguishable. In that case, HHS promulgated a rule

21   imposing new limitations on the Title X family planning program, including forbidding funding

22   recipients from making referrals for abortion services and requiring recipients to be physically

23   and financially separated from abortion-related activities. Id. at 1081-82. The Ninth Circuit

24   determined that these new Title X funding requirements did not run afoul of Section 1554

25   because of the “distinction between regulations that impose burdens on health care providers and

26   their clients, and those that merely reflect Congress’s choice not to subsidize certain activities.”

27   Id. at 1092. Federal funding restrictions “ensure that government funds are spent for the purposes

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 1   for which they were authorized” and, as the Ninth Circuit opined, Section 1554 is not meant “to

 2   affect Title X funding decisions.” Id. at 1094.

 3         The Exemption Rules, however, are not restrictions imposed on a federally-funded program

 4   and thus the holding of California is wholly inapplicable. The loss of contraceptive coverage

 5   caused by the Exemption Rules will directly interfere with the ability of women to access the

 6   contraceptive healthcare that they need. California, 950 F.3d at 1094 (Section 1554 “is meant to

 7   prevent direct government interference with health care”). Providers may be unable to prescribe

 8   contraceptives that are not covered by their patients’ insurance, or those prescriptions will go

 9   unfilled because of the out-of-pocket costs that women will bear. That is precisely the type of

10   governmental regulatory burden that Section 1554 was intended to prevent. See, e.g., Planned

11   Parenthood of Md., Inc. v. Azar, No. 20-361, 2020 WL 3893241, at *9–10 (D. Md. July 10, 2020)

12   (holding regulation violated Section 1554 by requiring insurers to provide two separate bills to

13   policyholders, as opposed to one combined bill, thereby “mak[ing] it harder for consumers to pay

14   for insurance,” and distinguishing California because that case concerns “ensuring government

15   funds are not spent on unauthorized purposes”).

16         In promulgating Section 1554, Congress intended to “ensure that HHS, in implementing the

17   broad authority provided by the ACA, does not improperly impose regulatory burdens on doctors

18   and patients.” California, 950 F.3d at 1094. The Exemption Rules violate this provision by

19   creating unreasonable barriers to care, impeding women’s timely access to services, and limiting

20   the availability of care for the full span of time during which women need it.

21         B.    The Exemption Rules Violate Section 1557 By Discriminating Against
                 Women
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23         Section 1557 of the ACA states that an “individual shall not . . . be excluded from

24   participation in, be denied the benefits of, or be subjected to discrimination under, any health

25   program or activity” on the basis of sex. 42 U.S.C. § 18116(a); 20 U.S.C. § 1681(a). The

26   Exemption Rules must be held unlawful and set aside because they permit employers to exclude

27   women from full and equal participation in their employer-sponsored health plan, deny women

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 1   full and equal healthcare benefits, and license employers to discriminate on the basis of sex. 42

 2   U.S.C. § 18116; see States Mot. at 36-37; States Opp’n at 41-43; States Sur-Reply at 8.

 3         The Exemption Rules permit employers to exempt themselves from providing only one

 4   type of preventive service: contraceptives, which women (and only women) use. Women are

 5   forced either to accept incomplete health coverage unequal to that received by male colleagues or

 6   forgo employer-provided coverage and purchase a comprehensive healthcare package out-of-

 7   pocket. That unfair choice directly violates Section 1557 by subjecting female employees (and

 8   employees’ female dependents) to discrimination on the basis of sex with respect to access to

 9   federally-entitled coverage. 45 C.F.R. § 92.1.

10         This conclusion is bolstered by the Supreme Court’s recent decision in Bostock v. Clayton

11   County, 140 S. Ct. 1731 (2020). In Bostock, the Court held that discrimination based on

12   transgender status or sexual orientation “necessarily entails discrimination based on sex,” and

13   accordingly falls within Title VII’s sweep. Id. at 1747. 10 Even assuming that “sex” “refer[red]

14   only to biological distinctions between male and female,” the Court determined that “it is

15   impossible to discriminate against a person for being homosexual or transgender without

16   discriminating against that individual based on sex.” Id. at 1739, 1741. Here, as Defendants

17   previously explained, requiring “women—and only women—to take burdensome steps ‘to learn

18   about, and to sign up for, a new government funded and administered health benefit’ in order to

19   get coverage for an important aspect of their medical care” necessarily discriminates on the basis

20   of sex. Zubik Resp. Br., 2016 WL 537623, at *29 (quoting Hobby Lobby, 573 U.S. at 732).

21                                           CONCLUSION 11
22         The Court should grant the States’ motion for summary judgment, and deny Defendants’

23   and Intervenors’ motions to dismiss and motions for summary judgment.

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25      Section 1557 incorporates the definition of “on the basis of sex” under Title IX, 42 U.S.C.
     § 18116(a), and “Title VII case law has often informed Title IX case law with respect to the
26   meaning of” sex discrimination. 83 Fed. Reg. 37,160, 37,168 (Aug. 18, 2020).
     11
        Because the States’ APA and contrary to law claims demonstrate that this Court should set
27   aside the Exemption Rules, this Court need not reach the Constitutional claims. See In re Ozenne,
     841 F.3d 810, 814 (9th Cir. 2016) (“as a ‘fundamental rule of judicial restraint,’ [the court] ‘must
28   consider nonconstitutional grounds for decision’ before ‘reaching any constitutional questions’”).
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                                                             States’ Supplemental Brief (4:17-cv-05783-HSG)
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